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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ANTHONY RAPP,                                Case No. 1:20-cv-09586 (LAK) (SDA)

                          Plaintiffs,

  -against-

KEVIN SPACEY FOWLER a/k/a KEVIN SPACEY,

                          Defendant.




NOTICE OF DEFENDANT’S MOTION IN LIMINE NO. 3 TO PRECLUDE PLAINTIFF
FROM OFFERING EXPERT TESTIMONY ON CREDIBILITY ISSUES AND OTHER
   IMPROPER OPINIONS OF HIS EXPERT WITNESS, LISA ROCCHIO, Ph.D.



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                                        Counsel for Defendant
                                        Kevin Spacey Fowler a/k/a Kevin Spacey
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TO THE COURT, PLAINTIFF, AND HIS ATTORNEYS OF RECORD:

       PLEASE TAKE NOTICE that Defendant Kevin Spacey Fowler (“Mr. Fowler”) will and

hereby does move this Court, before the United States District Judge Lewis A. Kaplan, in the

United States District Court for the Southern District of New York, located in the Federal

Courthouse, 500 Pearl Street, New York, NY 10007, on October 6, 2022, or a date to be set by the

Court, for an order in limine to preclude plaintiff Anthony Rapp from offering expert testimony on

credibility issues and other improper opinions of his expert witness, Lisa Rocchio, Ph.D.

       Under Federal Rule of Evidence 401-403, 701-702, and other applicable law, Mr. Fowler

brings this motion to preclude Dr. Rocchio from testifying at trial about opinions or information

that would invade the province of the jury and are otherwise inappropriate for expert opinion. Dr.

Rocchio’s report includes opinions and conclusions that purport to opine on the credibility of

Plaintiff and his allegations, as well as the purported corroboration of other evidence. This is

plainly improper. Dr. Rocchio also provides impermissible expert opinions constituting legal

conclusions and a narrative description of hearsay statements of which she has no personal

knowledge. Relatedly, Plaintiff’s counsel should be precluded from asking questions of Mr.

Fowler’s rebuttal witness, Alexander Bardey, M.D., about credibility issues, including without

limitation allegations of unrelated alleged misconduct of Mr. Fowler. Dr. Bardey was not

designated to opine about credibility issues or anything to do with a psychological evaluation of

Mr. Fowler. Nor was Dr. Rocchio. And other allegations of sexual misconduct are entirely

irrelevant to either expert’s opinion. Finally, Mr. Fowler seeks an order precluding Dr. Rocchio

from testifying at trial about any opinions not stated by her in her report or at her deposition.

       The motion is based on this notice, the Memorandum of Points And Authorities filed with

this notice of motion, the Declaration of Chase Scolnick filed with this motion and the exhibits to




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it, the pleadings, records, and files in this action, and upon any and all oral and documentary

evidence presented at or before any hearing on the motion.



Dated: September 26, 2022                   Respectfully submitted,
       Irvine, California
                                            /s/ Jennifer L. Keller
                                                 Jennifer L. Keller

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                                            Kevin Spacey




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                                CERTIFICATE OF SERVICE

       In accordance with Local Rule 5.2, I, Jennifer L. Keller, hereby certify that on September

26, 2022 this document filed through the ECF system will be sent electronically to the registered

participants as identified in the Notice of Electronic Filing (NEF) and paper copies will be sent

to those indicated as non-registered participants.
                                                            /s/ Jennifer L. Keller
                                                            Jennifer L. Keller




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